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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

DONALD J. TRUMP,

                                     Plaintiff,

v.                                                 Civil Action No. 1:19-cv-2173-TNM

COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES; LETITIA JAMES, in
her official capacity as Attorney General of
New York State; and MICHAEL R.
SCHMIDT, in his official capacity as
Commissioner of the New York State
Department of Taxation and Finance,

                                  Defendants.

     PLAINTIFF’S BRIEF IN SUPPORT OF RELATED-CASE DESIGNATION




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                                         INTRODUCTION
        This litigation over the President’s state tax returns is related to the pending litigation over

the President’s federal tax returns (No. 19-cv-1974). The plaintiff here is a defendant there, and a

defendant here is the plaintiff there. Counsel are the same. The President’s claims in this case (that

disclosure of the President’s tax returns would lack a legitimate legislative purpose under Article I

and would constitute illegal retaliation under the First Amendment) are his defenses in the other

case. Because the Committee’s arguments for why it has a legitimate purpose for requesting the

President’s state returns will prove that it lacks a legitimate purpose for requesting the President’s

federal returns (and vice versa), the same judge needs to preside over both cases. Moreover, both

cases will require the Court to determine interconnected questions of legislative purpose, since the

TRUST Act grew out of, and was specifically designed to further, the Committee’s request for the

President’s federal tax returns. In short, relatedness is not a close call here; these presidential tax-

return cases are two sides of the same coin.

                                            ARGUMENT
        Pending civil cases are “related” if they, as relevant here, “involve common issues of fact”

or “grow out of the same event or transaction.” LCvR 40.5(a)(3). When either condition is met,

“‘the interests of judicial economy … outweigh the fundamental interests served by the random

assignment rule.’” Singh v. McConville, 187 F. Supp. 3d 152, 155 (D.D.C. 2016). Notably, the

related-case rule states that the “cases” must be related, not that every “party” or “claim” must be

related to every other party or claim. LCvR 40.5(a)(3).

        The related-case rule is not demanding. Because it only requires cases to “grow out of” the

same event, cases can be related even if they involve different events or raise nonoverlapping

issues. See, e.g., Collins v. Pension Ben. Guar. Corp., 126 F.R.D. 3, 7 (D.D.C. 1989); United States

v. Smith, 1990 WL 91611, at *1 (D.D.C. June 19, 1990). And because the rule only requires



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“common issues of fact,” cases can be related even if they involve different parties or challenge

different misconduct. See, e.g., Medford v. Dist. of Columbia, 691 F. Supp. 1473, 1476 (D.D.C.

1988); Singh, 187 F. Supp. 3d at 155. It is irrelevant if the parties and claims in each case ultimately

require “‘an individualized, case-by-case determination’”; the factual overlap alone warrants

“treating the[] cases as related” because it “achieves great economies and preserves scarce judicial

resources.” Medford, 691 F. Supp. at 1476; see Singh, 187 F. Supp. 3d at 157 (“The fact that the

Court will conduct an individual analysis … to determine whether each plaintiff is entitled to the

relief he seeks does not obviate” the “judicial resources” that would be “‘waste[d]’” if the cases

were not related and “‘another court address[ed] the[] same factual issues’”); Assiniboine & Sioux

Tribe of Fort Peck Indian Reservation v. Norton, 211 F. Supp. 2d 157, 160 (D.D.C. 2002)

(“[A]lthough differences may exist between the [two cases], there are clearly issues of fact that are

common to both cases that are sufficient to [treat them as related].”).

       This dispute over the disclosure of the President’s state tax returns to the Committee is

plainly related to the one involving the disclosure of the President’s federal tax returns to the

Committee. To start, both cases “‘involve similar parties’” and “‘the same counsel.’” Autumn

Journey Hospice, Inc. v. Sebelius, 753 F. Supp. 2d 135, 140 (D.D.C. 2010). President Trump is

the plaintiff here and a defendant in the federal-returns case, while the Committee is the plaintiff

there and a defendant in the state-returns case. That the cases also involve other parties or claims

does not make them unrelated. See Medford, 691 F. Supp. at 1476. Accordingly, any suggestion

by the New York defendants that their lack of involvement in the federal case makes the cases

unrelated would be misplaced. Regardless, the President and the Committee should be the focus

of the relatedness inquiry in cases such as this. See United States v. AT&T Co., 551 F.2d 384, 385

(D.C. Cir. 1976).




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       The tax-return cases also involve “identical legal issues.” Medford, 691 F. Supp. at 1475.

In both cases, the President will argue that the Committee lacks a legitimate legislative purpose

for requesting his tax returns. See Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 501 n.14

(1975) (explaining that plaintiffs can raise the lack of a legitimate legislative purpose to pierce

legislative immunity and affirmatively enjoin congressional requests to third-parties (endorsing

U.S. Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1259-60 (D.C. Cir. 1973))); Watkins v. United

States, 354 U.S. 178, 198 (1957) (explaining that plaintiffs can raise lack of a legitimate legislative

purpose defensively to resist a congressional investigation). And in both cases, the President will

vindicate his First Amendment right to be free from retaliation. See Watkins, 354 U.S. at 197 (“The

First Amendment may be invoked against infringement of [its] protected freedoms by law or by

[investigation].”). When cases, as here, involve nearly “‘identical’” claims against the same party

stemming from “the same ‘Constitutional provisions,’” they should be deemed related because

they will have “‘substantial overlap in both the factual underpinning and the legal matters in

dispute.’” Singh, 187 F. Supp. 3d at 155-56.

       Aside from these broader commonalities, the tax-return cases are related because they

“involve common issues of fact.” LCvR 40.5(a)(3). The key factual issues in both cases will turn

on purpose: the purpose behind the Committee’s request for the federal tax returns, the purpose

behind the TRUST Act, and the purpose behind the Committee’s request for the state tax returns.

These purposes are all interconnected. To determine the TRUST Act’s purpose, the Court must

first determine the Committee’s purpose for requesting the federal returns. That is because the

TRUST Act was passed in the wake of that request, specifically references it, and was intended to

help the Committee fulfill it. See Compl. ¶¶54, 4. So if the President is correct that “‘[t]he public

record demonstrates that the animating purpose of [the Committee’s request] was and remains




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exposure of a political opponent’s private tax information,’” Compl. ¶2, then that fact would be

powerful evidence that the TRUST Act was passed for the same impermissible reason. See Tripp

v. Exec. Office of the President, 194 F.R.D. 340, 343 (D.D.C. 2000) (treating cases as related

because a determination in one case that the defendant had “‘political purposes’” could be

“‘circumstantial evidence’” in the other).

       Nor could the Court assess the Committee’s purpose for requesting the President’s state

returns without also determining the Committee’s purpose for requesting his federal returns. If the

Court finds that the Committee had an illegitimate purpose for requesting the federal returns, then

that finding would strongly suggest that the request for the state returns is illegitimate too. And if

the Committee requests the state returns, it will remove all doubt that its rationale for requesting

the federal returns (i.e., studying how the IRS audits presidents) is pretextual. As Chairman Neal

admitted, the Committee must be careful that its rationales for requesting the state and federal

returns do not contradict, else it will “‘boost the Trump administration’s argument that Congress

is going after his tax returns as part of a political vendetta and fishing expedition.’” Compl. ¶61.

That is precisely why these cases should be deemed related and “these matters resolved by the

same judge.” Autumn Journey, 753 F. Supp. 2d at 140; see Singh, 187 F. Supp. 3d at 156-57

(treating cases as related because “the Court will be required to make similar factual determinations

in both cases related to … the defendants’ justifications for their [actions], and the defendants’

discriminatory conduct and/or intent, if any”).

       For similar reasons, the tax-return cases “grow out of the same event or transaction.” LCvR

40.5(a)(3). The key issues in both cases grow out of the Committee’s request for the President’s

federal tax returns. That request is what the Committee is trying to vindicate in the federal-returns

case. The executive branch’s resistance to that request is what inspired New York to draft and




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enact the TRUST Act at issue in this case. See Compl. ¶¶48, 54. And the Committee’s inability to

fulfill that request will be why it decides to “‘turn to New York’” and request the President’s state

tax returns. Compl. ¶65. The tax-return cases are thus highly related given that “some of the

evidence … will be the same” and both cases “concern similar conduct and overlapping time

periods.” Smith, 1990 WL 91611, at *1. “It would waste judicial resources and be nonsensical to

have another court address these same factual issues” and “develop[]” the necesssary

“understanding of the events and circumstances surrounding [this case].” Assiniboine & Sioux

Tribe, 211 F. Supp. 2d at 159; Smith, 1990 WL 91611, at *2.

       Indeed, to the Committee, the state returns and federal returns are just a “single but very

extensive … investigation.” Smith, 1990 WL 91611, at *1. Statements made by members of the

Committee in the last few days provide confirmation. Representative Pascrell clearly sees these

cases as related. In his view, “Congress had to sue to do oversight of Trump’s corruption” in the

federal case, and “now Trump is suing to block our oversight” in this case. Bill Pascrell, Jr.

(@BillPascrell), Twitter (Jul. 23, 2019), bit.ly/32S65Ea. Representative Beyer agrees: “Trump’s

lawsuit against our committee to avoid the release of his [state] tax returns, which he promised the

American people, again goes against a [federal] law which clearly states that those returns SHALL

be furnished upon request.” Rep. Don Beyer (@RepDonBeyer), Twitter (Jul. 23, 2019),

bit.ly/2JQTfyz. The Committee’s decision to accept these cases as related was correct.

                                           CONCLUSION
       This case and Case No. 19-cv-1974 are related. Plaintiff respectfully requests that the Court

overrule any objections to the contrary.




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Dated: July 25, 2019                     Respectfully submitted,

                                          s/ William S. Consovoy

                                         William S. Consovoy (D.C. Bar #493423)
                                         Thomas R. McCarthy (D.C. Bar #489651)
                                         Cameron T. Norris
                                         CONSOVOY MCCARTHY PLLC
                                         1600 Wilson Blvd., Ste. 700
                                         Arlington, VA 22209
                                         (703) 243-9423
                                         will@consovoymccarthy.com
                                         tom@consovoymccarthy.com
                                         cam@consovoymccarthy.com

                                         Patrick Strawbridge
                                         CONSOVOY MCCARTHY PLLC
                                         Ten Post Office Square
                                         8th Floor South PMB #706
                                         Boston, MA 02109
                                         patrick@consovoymccarthy.com

                                         Counsel for President Donald J. Trump




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